Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 1 of 14 PageID #: 3
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 2 of 14 PageID #: 4
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 3 of 14 PageID #: 5
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 4 of 14 PageID #: 6
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 5 of 14 PageID #: 7
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 6 of 14 PageID #: 8
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 7 of 14 PageID #: 9
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 8 of 14 PageID #: 10
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 9 of 14 PageID #: 11
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 10 of 14 PageID #:
                                     12
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 11 of 14 PageID #:
                                     13
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 12 of 14 PageID #:
                                     14
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 13 of 14 PageID #:
                                     15
Case 1:05-cv-05442-CPS-KXM   Document 1   Filed 11/18/05   Page 14 of 14 PageID #:
                                     16
